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                                 UNITED STATES DISTRICT COURT
                                                                                         2/14/2022
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                                 NORTHERN DISTRICT OF ILLINOIS                       THOMA.SDG
                                                                                             IS T R IC T COURT
                                                                                  CLERK, U.S



LaWanda King                                            )
                                                        )       Case Number: 1:22-cv-00259
                Plaintiff                               )
                                                        )       Judge: Pacold
                v.                                      )
                                                        )       Magistrate Judge: Finnegan
Ford Motor Co., et al.                                  )
                                                        )
                Defendant (s)                           )

                                        Amended Complaint


Section 1. This is an action for 1) perpetuating employment discrimination including hostile

work environment and retaliation 2) disability discrimination 3) breach of contract 4) fraud

and 5) compensation discrimination.

Ford violated plaintiffs’ rights under the terms, conditions and privileges of employment under

the UAW-Ford Collective Bargaining Agreements (CBA) (2019 and prior); and the UAW

breached its duty by handling plaintiffs’ grievances arbitrarily, in a discriminatory manner and

in bad faith. The UAW failed to responsibly protect her interests as a Legacy/Traditional

employee under the terms of the CBA and the UAW Constitution.

Plaintiff was subjected to a toxic and hostile work environment at the Ford Chicago Assembly

Plant. Defendants deprived her fair and timely grievance procedures and arbitration processes

(2013-2017), reinstated her in June 2017 under false pretenses, denied her contractual right to

return to Ohio, denied her reasonable accommodations and compelled her into involuntary

retirement in January 2018.




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Defendants’ actions, inactions and conduct has been detrimental to plaintiff causing her

irrevocable emotional harm with lifelong economic damages. Defendants’ actions shortened

plaintiffs’ career.

Plaintiff filed substantial complaints during the period 2011-2021 and attempted various

internal and external remedies to resolve a series of repeated unfair labor practices before

proceeding to court again. Plaintiff have experienced undue delays by defendants and their

affiliates. Plaintiff have been waiting on responses from her union complaints and appeals

processes that are required and/or pre-litigation prerequisites that have been delayed since

2017. Plaintiff filed complaints during the period 2017-2021. In April 2021, plaintiff received a

written response from Scott Eskridge (UAW National Ford Assistant Director) on behalf of all

defendants.

Plaintiffs’ rights were violated under a Hybrid § 301 of the Labor Management Relations Act

(LMRA). Defendants violated plaintiffs’ rights under Title VII of the Civil Rights Act of 1964 as

amended; the American with Disability Act of 1990 (ADA); the Rehabilitation Act as amended;

Age Discrimination in Employment Act (ADEA); Employee Retirement Income Security Act of

1974 (ERISA).

Section 3.

The defendant (A) is plaintiffs’ employer, Ford Motor Co. (Ford), whose world headquarters

street address is One American Road, Wayne County, MI 48216.

Defendant (A) telephone number is: (313)322-3000.




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The defendant (B) is plaintiffs’ union, International Union, United Automobile, Aerospace &

Agricultural Implement Workers of America (UAW), AFL-CIO (“the UAW” or “the Union”),

whose headquarters street address is 8000 East Jefferson, Detroit, Wayne County, MI 48214.

Defendant (B) telephone number is: (313)926-5000.

Section 4.

The plaintiff was employed by the defendant (A) at the following locations:

Chicago Assembly Plant (CAP), 12600 S. Torrence Ave, Chicago, Cook County, IL 60633

(2010-Current)

Ford Ohio Assembly Plant (OHAP), 650 Miller Rd., Avon Lake, Lorain County, OH 44012

(1992-2010).

Section 7.1

(a) The defendant is not a federal governmental agency, and the plaintiff has filed a charge or

charges against the defendant(s) asserting the acts of discrimination indicated in this

complaint with any of the following government agencies:

(i) the United States Equal Employment Opportunity Commission, on or about August 26,

2019.

(ii) the Illinois Department of Human Rights, on or about August, 26, 2019.

(iii) the U.S. Dept. Of Labor-Office of Contract Compliance, on or about September 27, 2021.

(b) If charges were filed with an agency indicated above, a copy of the charge is attached. Yes.

It is the policy of both the Equal Employment Opportunity Commission and the Illinois

Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.




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Section 9.

The defendant discriminated against the plaintiff because of the plaintiff’s:

(a) Age (Age Discrimination Employment Act).

(b) Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(c) Disability (Americans with Disabilities Act or Rehabilitation Act)

(e) Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(g) Sex (Title VII of the Civil Rights Act of 1964)




Section 11. Jurisdiction over the statutory violation alleged is conferred as follows:

for Title VII claims by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3), 42

U.S.C.§2000e-et seq.; for 42 U.S.C.§1981 and §1983 by 42 U.S.C.§1988 and by Fair Pay Act of

2009, 42 U.S.C. § 2000e-5(e); for the ADA by 42 U.S.C.§12117; for the Rehabilitation Act, 29

U.S.C. § 791; and for the ADEA, 29 U.S.C. 621 et seq., 29 U.S.C. § 626(d) and 29 U.S.C. §

626(c); for Contract claims by 735 ILCS 5/13-206 and ILCS 5/13-205; by Hybrid section 301 of

the LMRA, 29 U.S.C.A. § 185; and by the UAW-Ford Collective Bargaining Agreements (2019

and prior); for Fraud Claims by 735 ILCS 5/13-215 and 735 ILCS 5/13-218 .


Section 12. The defendant:

(b) terminated the plaintiff’s employment.

(e) failed to reasonably accommodate the plaintiff’s disabilities.

(f) failed to stop harassment;

(g) retaliated against the plaintiff because the plaintiff did something to assert rights protected

by the laws identified in paragraphs 9 and 10 above;




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   (h) other (specify): the defendants terminated the plaintiffs employment on April 2, 2013 while

   on an approved and paid medical leave of absence to failed to reasonably accommodate the

   plaintiffs disabilities three failed to stop harassment for retaliated against the plaintive because

   the plaintiff did something to assert her rights protected by the laws identified in paragraph 9H

   other defendants collectively created and maintained a hostile work environment subjecting

   plaintive to disparate treatment that included repeated bullying, other abuse of power behavior

   and retaliated when plaintive took action to prevent, incorrect violations in sex harassment.

   Section 13. The facts supporting the plaintiff’s claim of discrimination are as
   follows:
   HOSTILE WORK ENVIRONMENT AND RETALIATION
1. Plaintiff, LaWanda King was hired at Ford Motor Co. (Ford) on October 5, 1992 at the Ford Ohio

   Assembly.

2. Plaintiff’s race is African-American; her sex is female; her age is and was over 40 when she

   transferred to the Ford Chicago Assembly Plant (CAP).

3. During the period October 1992 and August 2010; plaintiff was never disobedient, walked off a

   job, failed to follow instructions from her supervisors or anyone.

4. Plaintiff had zero (-0-) disciplines on her record when she transferred to CAP.

5. Fluretta Drummer, (Labor Relations Supervisor) provided a 30 (b)(6) testimony that confirmed

   the many differences at CAP and the fact CAP Medical Dept. and Labor Relations Office (LRO)

   was dysfunctional and deficient in staffing during the period August 2010 through 2014.

6. The continued pattern of employment discrimination happens when an employer, its attorneys,

   its agents and consulting firms are allowed to willfully misstate facts, conceal evidence and

   misrepresent the truth. Employees suffer physically, emotionally and economically; while

   employers and all others are unjustly enriched.



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7. The Chicago Assembly Plant has a demonstrated history of employment discrimination and

   class-action race and/or sex harassment-based litigations. Plaintiff experienced a toxic and

   hostile work environment from August 16, 2010 through January 2018.

8. Plaintiff experienced daily and/or weekly sexual inferences and innuendos, physical altercations,

   drug and/or alcohol use during work hours and sex-based conduct in vehicles and throughout

   the plant during her tenure at Chicago Assembly Plant.

9. It was customary at CAP to witness a cursing match between a supervisor and an employee or

   another employee without any discipline applied. This was considered “shop talk” to most;

   however, discipline in this regard was applied discriminatorily.

10. Plaintiff filed an internal sexual harassment complaint against her supervisor (Michael Reise) in

   December 2011; for sexually explicit comments toward her that she perceived to be

   inappropriate.

11. Plaintiff filed her complaint with Labor Relations Rep (Justina Delangel) in the presence of

   Union Rep (Reggie Easter) in December 2011.

12. In plaintiffs’ prior litigation, there was no evidence of any form of reports submitted in plaintiffs’

   requested employment records that was received from defendants.

13. Michael Reise was not held accountable and promoted afterwards.

14. But for the defendants’ actions to disregard plaintiffs sex harassment complaint against Reise in

   2011 and not take immediate action to remove him from that plant; Christie Van (2014 Class

   Action litigation) would not have been sexually harassed by him in 2012.

15. Many union officials were named as predators in the 2014 sex harassment class action litigations

   in Chicago. The UAW International Union has been riddled with scandals while some of its

   International UAW officials were linked to sex harassment allegations themselves. Some of these

   same union officials were involved with the mishandling plaintiffs’ termination grievance.

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16. Defendants removed plaintiff from her base job permanently in April 2012 based on her sex, race

   and in retaliation. Plaintiff was replaced with a younger, white, male.

17. Under Ford’s Policies, subject to the provisions governing promotional and non-promotional job

   transfers, no employee shall be moved indiscriminately (see 2011 CBA, Volume I, Article VIII §

   23(a)).

18. Plaintiff regret filing her sex harassment complaint because it ruined and ended her career. But

   for plaintiff filing her sex harassment complaint in March 2012 with the EEOC; plaintiff would

   have not have been permanently removed from her job in April 2012.

19. Plaintiff experienced more acts of sex harassments, innuendos and other forms of intimidation

   and misconduct from co-workers and management after she filed her complaint and Reise was

   promoted.

20. Defendant’s shop floor Superintendent, Tony Giles denied plaintiff a job opportunity even

   though plaintiff qualified.

21. During the period December 2011 through April 2, 2013, plaintiff was intimidated, threatened,

   and utilized as surplus, demoted, erroneously disciplined, shorted and/or denied pay for

   working, denied overtime, employment records were altered, address erroneously changed

   without her authorization and erroneously denied access to the employee system.

22. Ford expressed a long-stand concern about Sexual Harassment (CBA p. 453) and a procedure

   that plaintiff followed which was a prompt reporting to immediate management, local union

   officials, Human Resources office (CBA, p. 454) and other resources (see 2011 CBA, Volume IV-

   A. p. 453 – 459).

23. Grant Morton, Former Local 551 Chairman, signed a declaration statement implicating threats

   and discriminatory actions that was made toward plaintiff if she did not drop her complaint

   against Ford. His statement also demonstrated that plaintiff was discriminatorily removed from

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   her job, denied a position that she was qualified and moved around to various more difficult job

   positions prior to her termination. Grant Morton’s declaration was a contributing factor in

   plaintiffs’ loss to defendants.

24. Plaintiff was slandered and later identified as “one of the women that filed a sex harassment

   complaint” during orientation in June 2017.

25. Medical Dept. staff, Labor Relations Representatives and union reps retaliated against plaintiff

   in a series of malicious acts during the period 2011 through 2018 after she filed complaints

   internally and externally.

26. In 2017, Plaintiff filed internal complaints and was ignored again to no avail and attempted to

   file more with the EEOC and ILDHR in September 2017, but was informed EEOC and Ford

   reached a $10 million settlement. Plaintiff was instructed to utilize the employee claims form

   process that will be mailed to employees for any and all incidents that happened at Chicago

   Assembly Plant during the period January 2010 – August 2017. Plaintiff received a right to sue

   notice in October 2017 that she filed in 2014 and was instructed to include that with her

   complaint because it was within the designated period. Plaintiff and other employees were

   denied the details of the settlement upon their request.

27. Plaintiff and other employees received an employee conciliation packet from Rust Consulting

   Firm (Ford’s Claims Administrator) that indicated to return the completed claim forms within

   120 days from the date. There was no date on the notice or envelope. Plaintiff and several other

   employees contacted the EEOC in this regard. Plaintiff included more harassment details and

   names of union members and management. Plaintiff submitted her claim form along with

   substantial supporting documents in a timely manner in February 2018.

28. Plaintiff received a response from Rust Consulting Firm in March 2019; which was over a year

   (365 days) from her submission. Plaintiff was denied any portion of the $10 million settlement

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   indicating that her claim was not received by the deadline. Again, there were no dates on any of

   the documents mailed to employees. Employees do not know who was reviewing their

   confidential documents and/or making award determinations. There was no appeal process.

   This was an unfair process and nobody is being held accountable. There is no indication that the

   form was reviewed and approved prior to being mailed to employees. The details of the

   settlement were not included. Some employees received monetary awards that did not file a

   claim. Most employees that received an award were younger and lends merit to a targeting

   mechanism.

29. Plaintiff vehicle began getting vandalized at work and at her home in 2011. After plaintiff filed

   complaints against the Union in September 2017, she was run off the road that totaled her vehicle

   and since live in fear.

30. Defendants, through its agents and employees, failed to exercise reasonable care to effectively

   prevent or correct harassment and a hostile work environment associated with the defendants

   Chicago Assembly Plant, has unlawfully harassed and discriminated against plaintiff with

   respect to her compensation, terms, conditions, and privileges of employment, in retaliation and

   based on her race, African American, sex, female, color, lighter skinned melanin, age, over 40

   and disability.

   31. Defendants, through its agents and employees, has unlawfully harassed and discriminated

       against plaintiff in a way which would deprive or tend to deprive her of employment

       opportunities or otherwise has adversely affected her status as an employee.

       BREACH OF CONTRACT

32. Plaintiff was hired full time at Ford Ohio Assembly Plant on October 5, 1992. Plaintiff became a

   member of UAW Local 2000 on the date of hire.



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33. Plaintiff transferred to Ford Chicago Assembly Plant on August 16, 2010. Plaintiff became a

   member of UAW Local 551 on the date of transfer.

34. These assembly plants are mandatory “union shops” that operate under the UAW-Ford

   Collective Bargaining Agreements (2019 and prior).

35. Defendants violated the terms of the CBA when they failed to protect plaintiff from known unfair

   labor practices, unfair disciplines, the countless pay shortages for working and/or failed to pay

   her the negotiated benefits including wages increases, bonuses, vacation pay.

36. Plaintiff was terminated on April 2, 2013. Local 551 Union Rep. Dave Dahn (Michelle Dahn

   father) wrote plaintiffs termination grievance (JC143) on April 3, 2013. Local 551 Union Rep.

   John Cullum provided inaccurate facts to support plaintiffs’ grievance. This document was

   processed from April 2013 through October 2016 with wrong facts.

37. Plaintiff was in litigation with Ford during the period 2013 through 2017. Plaintiffs’ grievance

   procedure was in progression from April 3, 2013 through May 9, 2017. Plaintiff was reinstated

   under false pretenses that breaches the CBA.

38. If the union representatives had exercised fair and/or reasonable due diligence in their

   representation of plaintiff, especially as a high seniority employee; they would have discovered

   enough facts and evidence that would have proved plaintiff was wrongfully terminated.

39. Defendants discriminated against plaintiff based on her age, over 40, race, African American,

   color, Lighter skinned melanin and her recall rights as it relates to similarly situated employees

   Christie Van and Michelle Dahn. Plaintiff have a pension and they didn’t.

40. Michelle Dahn, a younger, white, female that was terminated in March 2014 after plaintiff (April

   2013) for the exact same reason “failure to respond to 5-day notice”. Defendants notified her of

   her hearing and afforded her an outside impartial Arbitrator. Dahn was recalled in 2016 which

   breaches the contract as it relates to discrimination and recall rights. Ransom protested more

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   favorably on Dahns behalf and requested to make her whole. Ransom did not protest for plaintiff

   in the same manner at all. Dahn was reinstated shortly afterward.

41. Christie Van, a younger, darker skinned melanin, African American, female had her grievance

   heard and was afforded an impartial Arbitrator in 2014 and settled within a few months. Ransom

   protested more favorably for this employee’s grievance as well. Van was also reassigned to the

   Chicago Stamping Plant after her incident with Michael Reise. Plaintiff was not afforded this

   opportunity.

42. A Jury would agree that the union’s refusal and failure to process plaintiffs’ termination

   grievance through a timelier progression of steps and failure to advance her grievance to an

   impartial arbitrator affected the outcome that was more favorable to defendants and more

   damaging to plaintiff.

43. But for Ford, and its agents’ actions that caused plaintiff to be subjected to employment

   discrimination including termination that breached the terms of the UAW-Ford Collective

   Bargaining Agreement (CBA); plaintiff would not have been terminated and suffered the extent

   of harm and damages.

44. But for the union breaching its duty to fairly represent plaintiff in good faith and rather

   represented her in an arbitrary, discriminatory manner and in bad faith during her grievance

   and arbitration processes; plaintiff would not have remained terminated for four years and

   suffered the extent of harm and damages.

       Defendants, through its agents and employees, has unlawfully harassed and discriminated

       against plaintiff with respect to her compensation, terms, conditions, and privileges of

       employment, in retaliation and based on her race, African American, color, lighter skinned

       melanin, sex, female, age, over 40 and her disability.



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       Defendants, through its agents and employees, has unlawfully harassed and discriminated

       against plaintiff in a way which would deprive or tend to deprive her of employment

       opportunities or otherwise has adversely affected her status as an employee.

       DISABILITY DISCRIMINATION

       Disparate treatment

45. Plaintiff is disabled as defined by the ADA. Defendants were aware of plaintiff’s disabilities.

46. Plaintiff have a history of disabilities on her employment record with Ford since 1993.

47. Plaintiff was qualified, experienced and successfully performed the essential functions of her job

   during the period October 1992 – August 2010 at OHAP, with or without a reasonable

   accommodation.

48. Plaintiff experienced temporary medical restrictions at OHAP during the period 1992-2010; was

   reasonably accommodated and successfully performed the essential functions of her job.

49. Plaintiff worked as a QLS Group Leader and Driver (Headlight Light Aimer and Roll Tester)

   within the 10 years prior to transferring to CAP. Plaintiff was a top performer as a headlight

   aimer when she departed OHAP.

50. Plaintiff was qualified, experienced and able to perform the essential functions of her job, with

   or without a reasonable accommodation from 1992 - 2018.

51. Plaintiff transferred to CAP and experienced unwarranted discipline due to her disability

   whereas policies and procedures were different from her previous plant location and/or

   administered discriminatorily.

52. Defendants were aware of plaintiff’s disabilities at the time of her reinstatement.

53. Plaintiff was not assigned back into her former position and/or area as promised or at least with

   Legacy and/or senior employees.

54. Plaintiff was assigned to a least desirable job operation that would cause her harm.

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55. Michelle Dahn, a younger, white female with less seniority than plaintiff and daughter of Union

   Rep. Dave Dahn was similarly situated and treated more favorably when she was reinstated. She

   was reinstated and assigned right back to her same job and/or area.

56. Billy Cowart, an African American, Male similarly situated was treated more favorably when he

   was reinstated. He received one year back pay and reassigned right back to his same job and/or

   area.

57. Plaintiff reported to work on July 17, 2017 with temporary medical restrictions.

58. Plaintiff was denied a reasonable accommodation to be reassigned and/or available openings at

   other buildings, or different plant locations from July 17, 2017 through January 2018 due to her

   disability.

59. Plaintiff was placed on No Work Available on July 17, 2017, September 2017 and December 2017

   due to her disability. Plaintiff received a letter from Unicare dated January 2, 2018 indicating

   plaintiff was selected by an alleged advocate group to apply for SSDI due to her disabilities

   otherwise her benefits would end.

60. Defendants had other similarly situated employees that were younger (Maria Price) and of a

   different race and sex (Grant Morton) than plaintiff that was not selected for SSDI. Plaintiff was

   provided a list of other employees that have restrictions and were reassigned so they are able to

   keep working. Defendants have a history of retaliation so to protect the employee’s plaintiff will

   disclose to the court.

61. Plaintiff was denied her contractual right to return to her basic work unit (RTBU) in June 2017

   through January 2020 due to her disability. Plaintiff was initially told by Labor Rep. Theo Cell

   and others from June 2017 through January 2018 the reason for denial was there were no

   openings. OHAP had available openings and was hiring from the streets through 2020. Most

   hired were younger male employees.

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   62. In 2021, defendants’ reason for their denial was because plaintiff accepted the $30K moving

       allowance. Majority (99%) employees that relocated to Chicago and other locations took the

       same package as plaintiff and was afforded the opportunity to return to their basic unit. All

       of the employees that transferred with plaintiff that opted to leave which was most, and/or

       many others she knows were either younger or did not have disabilities.

   63. Defendants ensured that plaintiff only option was to remain on one job at Chicago Assembly

       Plant to compel her into involuntary retirement due to her age and disabilities with reduced

       pension credits, etc. that would be a benefit to Ford. Ransom and Shea could have sent

       plaintiff back to Ohio in their alleged May 9, 2017 meeting and avoided most of the

       perpetuated employment discrimination that caused more harm and damage to plaintiff.

       Both were aware of the hostile work environment and wrongful termination and more.

64. Plaintiff was denied all negotiated wage increases, bonuses and other compensation since 2017

   due to her disability.

65. Plaintiff is not an active employee and she not yet retired; but she has been denied the privileges

   of employment as a Legacy/Traditional employee such as signing bonuses, etc. Plaintiff has the

   equal privilege to vote and receive an annual taxable income for UAW legal fees.

66. Plaintiff wanted to try re-entering the workforce in January 2020. Her Physician requested a

   reasonable accommodation of changing her work location from the Chicago Assembly Plant but

   his request was denied.

67. Defendants, by its agents and employees denied plaintiff the buyout packages due to her

   disability.

68. Plaintiff had tried unsuccessfully to get a response to her appeal since May 2019 so she can retire.

   They responded in April 2021.

   69. Plaintiff is no longer able to return to work due COVID-19 complications in 2020.

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   70. Defendant, through its agents and employees, has unlawfully interfered with, restrained, and

       denied the exercise of or the attempt to exercise, the rights afforded plaintiff under the

       American with Disabilities Act and Title VII of the Civil Rights Act of 1964 as amended.

       Defendant has discriminated against plaintiff by depriving her equal wages, compensation

       and benefits, denied her a reasonable accommodation and/or reassignment to other

       positions that she was qualified and/or entitled under the collective bargaining agreement.

   71. Defendants compelled plaintiff into voluntary retirement due to her disability, age, over 40,

       race, African- American, color, lighter skinned melanin, sex, female for opposing unfair labor

       practices, the interference and restraint in denial of her rights afforded under the Americans

       with disability act of 1990 as amend (ADA) and Title VII of the Civil Rights Act of 1964 as

       amended.

       FRAUD

       Fraudulent concealment

72. Ford, through its agents and employees, made numerous false statements of material facts

   during plaintiffs’ previous litigation, grievance/arbitration process as it relates to the integrity of

   plaintiffs’ cause and reason for her termination, FMLA, discipline, attendance and other

   employment records.

73. Ford, through its agents and employees, misrepresented and omitted material facts during

   previous litigation related to plaintiffs’ employment/attendance records as it relates to her

   FMLA eligibility.

74. Defendants knew they were providing a false statement when they indicated during hearings

   that plaintiff was disciplined for 30 days without pay on August 9, 2011 for her attendance

   records.



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75. Ford, through its agents and employees, provided false statements that plaintiff failed to provide

   a statement for her sex harassment complaint against Michael Reise in 2011.

76. Defendants knew they were providing false statements when they indicated plaintiff was

   terminated for “failure to respond to 5-day notice”.

77. Defendants knew/was aware that plaintiff satisfied her legal and/or contractual obligation to

   respond to the 5-day notice and in a timely manner.

78. Ford, through its agents and employees, proceeded through court, wasted the courts time and

   extended plaintiffs suffering when it was discovered on April 2, 2013 that plaintiff did respond

   to the 5-day notice timely.

79. During a deposition of a Labor Rep in 2014, the question was asked why wasn’t plaintiff

   reinstated after Ford discovered that plaintiff had responded to the notice timely on April 2,

   2013?

80.A jury would find that Plaintiff was terminated for “unjust” cause and their actions, inactions

   and conduct is a breach of the collective bargaining agreement.

81. During the same deposition, it was demonstrated that plaintiffs medical leave of absence was

   certified and approved on March 26, 2013 for the period March 4, 2013 through April 30, 2013.

   Additionally, there was other material facts and evidence concealed that demonstrated

   discrimination and malice as it related to plaintiffs’ termination.

82. During plaintiffs Article 33 hearing; it was discovered that material facts and evidence submitted

   to the UAW International President (Dennis Williams) for the hearing was removed from

   plaintiffs’ documents. Regional Rep. Tony Tallarita and Jody Dunn disregarded plaintiff and

   made comments in a bad faith stating “just because you gave them all of those documents don’t

   mean you’re getting your job back”.



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83. During an alleged “Pre-Arbitration” meeting on May 9, 2017 between Ford’s Rep (Johanna Shea)

   and the UAW Rep. (Reggie Ransom); they both were aware that plaintiff had responded to the

   notice timely, concealed material facts and misrepresented when they had a duty to disclose it

   and ample opportunity to correct the wrong.

84. Ransom concealed meritorious evidence and other supportive documentation in 2017. He and

   other UAW Representatives omitted supporting evidence that was favorable to plaintiff, surface

   bargained and protested against her throughout their representation on her behalf.

85. This conduct will demonstrate to a jury that Ransom and other UAW Officials acted in a

   deceptive, arbitrarily, discriminatory manner and in bad faith.

86. Plaintiff was provided a document on May 18, 2017 indicating that her termination grievance

   was settled on May 9, 2017.

87. Plaintiff requested to be present after the incident with Jody Dunn. Plaintiff was not notified and

   denied to be present at what some people call a “sham” pre-arbitration meeting that settled her

   grievance. Plaintiff informed Ransom that she disagreed with his actions, the biased arbitration

   process, the agreement that was made on her behalf without her input or presence and felt

   betrayed again. Ransom told plaintiff “You have no choice or say so on how I settled your

   grievance”. Ransoms’ conduct was similar to Jody Dunn conduct in 2015.

88.In 2016, Plaintiff learned the Dunn failed to notify or inform her that he sided with Ford and

   closed plaintiff’s grievance in an arbitrary, discriminatory manner and in bad faith.

89. Ransom misled plaintiff stating that Ford don’t pay backpay and hurried plaintiff to take her

   physical and be reinstated. He assured plaintiff she would get her retroactive pension service

   credits, full seniority, return to her basic unit in Ohio, full vacation time, benefits etc. as a

   Legacy/Traditional employee upon her reinstatement.

90. Plaintiff passed her physical on June 5, 2017 and was reinstated on June 19, 2017.

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91. Plaintiff returned to work with the first week in orientation. Plaintiff was 1 of approximately 14-

   15 employees in a group of 3 non-African American new hires and approximately 9 younger

   rehired-new hires. The younger employees for the most part had been hired from the street since

   plaintiff was terminated and recruited by UAW Local 551 officials.

92. Plaintiff returned after 4 years and experienced a repeat of her past discrimination and

   retaliation.

93. Plaintiff was denied the equal benefits of a full seniority employee as indicated on the May 9,

   2017 agreement and in the CBA. Plaintiff was denied substantial material benefits that she was

   promised and awarded.

   94. Plaintiff called Ransom and numerous others who all gave her the run around and/or

       continued to ignore her, refused to write grievances and blew her off.

   95. Plaintiff was denied her vacation pay as a Legacy/Traditional employee and instructed to file

       for unemployment for 2 week shut-down (6/30/17 thru 7/16/17) period by the same Labor

       Rep. Kathy Fivecoat; who was also involved with plaintiffs’ wrongful termination. Plaintiff

       should have received 80 hours vacation pay plus a floating holiday instead of

       unemployment/sub pay and no pay.

96. Plaintiff received an inaccurate check for the July 2017 Shutdown period in April 2021.

   Defendants breached the CBA and their “sham” agreement dated May 9, 2017.

   97. Plaintiff discovered in June 2021, the defendants’ actions and document dated May 9, 2017

       is suspect to misrepresentation. Considering the actions of the defendants’ who can plaintiff

       depend on in the UAW. The UAW National Ford Dept. Representatives (Ransom and Dunn)

       breach of their duty of fair representation lends merit to potential UAW scandals and

       weakens the integrity of the mandatory arbitration process.



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98. Defendants, through its agents and employees, has unlawfully committed fraud and

    discriminated against plaintiff with respect to her compensation, terms, conditions, and

    privileges of employment, in retaliation and based on her race, African American, color,

    lighter skinned melanin, sex, female, age, over 40 and her disability.

99. Defendants, through its agents and employees, has unlawfully committed fraud and

    discriminated against plaintiff in a way which would deprive or tend to deprive her of

    employment opportunities or otherwise has adversely affected her status as an employee.

    COMPENSATION DISCRIMINATION

100.    Defendants recognize their respective responsibilities under federal and state laws

    relating to fair employment practices. They recognize the moral principles involved around

    civil rights and have reaffirmed in their Collective Bargaining Agreement (CBA) their

    commitment not to discriminate because of color, age, sex, union activities…or against any

    employee with disabilities.

101.    Plaintiff requested reasonable accommodations which included returning to Ohio, the

    plant she formed peaceful and harmonious working relations over an 18-year period. The

    request was denied. Had Ford provided this accommodation with or without moving

    expenses, plaintiff would be actively working today (2022) and or applied and accepted an

    early retirement offer.

102.    There are four levels of hourly employees:

103.    Legacy/Traditional- Employees hired or rehired before Nov. 19, 2007

104.    Entry Level – Employees hired or rehired after Nov. 19, 2007

105.    Long-term Supplemental (LTS) – Employees hired to supplement the workforce for a

    long-term assignment that is temporary in nature.



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106.    Temporary Part-time (TPT) – Employees hired to supplement the workforce who work

    any two days during the week and all have potential of working additional days for which full-

    time employees receive premium pay as long as no full-time employee is displaced.

107.    Scott Eskridge stated that plaintiff’s hourly rate was $29.84 in 2017. Plaintiff deprivation

    of her wage increases, reduced credited service credits in addition to the years of lost wages

    for back pay and future pay that plaintiff’s social security and pension is impacted.

108.    Plaintiff received a pay check in 2021 for a 2017 Supplemental Unemployment Benefit

    (SUB) Plan which is generally for full weeks of layoff of an amount that, when added to state

    unemployment compensation, equals 74 percent of the employees weekly before-tax pay.

109.    The award Ransom bargained for plaintiff and the economic harm demonstrates

    compensation discrimination and economic damages that plaintiff have sustained through

    defendants’ oppression and retaliation based on her age and disability. Ford reinstated

    plaintiff at an hourly rate that was approximately $1.00 less than her peers. Defendants

    compelled plaintiff into involuntary retirement within weeks of her reinstatement and lends

    merit to the intent of their actions.

110.    Plaintiff’s active coworkers that were not terminated 50 months, received General Wage

    Increases in 2015 and 2017 of three (3) percent and in 2019 of three (3) percent which totals

    approximately $2.70 per hour. Four (4) percent lump sum Performance bonuses were paid

    in 2016, 2018, 2019, and 2021.

111.    Plaintiff lost approximately $247,000 or more in base wages that does not include

    overtime, benefits and statutory payments. Ford retained the $247,000 that plaintiff lost.

112.    Between April 2013 through June 2017 employees earned approximately $58.15 per hour

    or more. Ford refused plaintiff’s total compensation package of approximately $500,000 or

    more in the four (4) years of her termination period.

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113.    Legacy employee’s compensation package was approximately $68 per hour in 2018.

    Plaintiff was involuntarily placed on “No Work Available” which is a placement or

    involuntary medical Leave of Absence to long-term disability and SSDI, between 2017 and

    2022. In that six (6) year period, plaintiff was impoverished, and Ford was enriched

    approximately $848,000 less her award and disability offsets.

114.    Ford offers Inactive employees Vocational Retraining Assistance that are on indefinite

    layoff. Plaintiff is denied these benefits due to her disability. The only Vocational Retraining

    Assistance Ford offer plaintiff status is being discriminated based on her disability and

    compelled into Long-term disability and social security evaluation or termination of benefits.

    This was plaintiff only option in January 2018.

115.    Defendants, through its agents and employees, has unlawfully discriminated against

    plaintiff with respect to her wages, compensation, terms, conditions, and privileges of

    employment, in retaliation and based on her race, African American, sex, female, color,

    lighter skinned melanin, age, over 40 and her disability.

116.    Defendants, through its agents and employees, has unlawfully discriminated against

    plaintiffs’ compensation in a way which would deprive or tend to deprive her of

    employment opportunities or otherwise has adversely affected her status as an employee.

Section 15. The plaintiff demands that the case be tried by a jury. Yes

Section 16. THEREFORE, the plaintiff asks and pray that the court grant the following relief

to the plaintiff:

Direct the defendant Ford to medically retire plaintiff. Grant the plaintiff appropriate

backpay/lost wages including tax offsets, liquidated/double damages, front pay, compensatory



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damages, punitive damages, prejudgment interest, post-judgment interest, and costs, including

reasonable attorney and/or legal fees and expert witness fees.

(h) Grant such other relief as the Court may find appropriate.

__________________________________

(Plaintiff’s signature)

LaWanda King

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Woodland Hills, CA 91364

(773)575-1799

Date: 02/13/22




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